                          UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF MICHIGAN
                            NORTHERN DIVISION - BAY CITY

IN RE:

         LARRY KEITH MILLER                                 Case No. 11-21722-dob
         and MARY ELLEN MILLER,                             Chapter 7 Proceeding
                                                            Hon. Daniel S. Opperman
            Debtors.
_____________________________________/

     Opinion Regarding Chapter 7 Trustee, Daniel Himmelspach’s, Motion for Approval of
Settlement with mBank and Debtors’ Motion to Compel Trustee to Abandon Property of Estate

                                          Introduction

         The Trustee, Daniel Himmelspach, sold the Debtors’ residence at 906 Woodcrest Drive,

Gaylord, Michigan (the “Woodcrest Property”) for $149,900.00, and after payment of closing costs

and prior liens, received $77,464.04. mBank claims these proceeds by virtue of a mortgage dated

September 19, 2005, and recorded on September 21, 2005, at Liber 1068, Page 1 - 11 with the

Otsego County Register of Deeds. This mortgage contained the proper legal description for the

Woodcrest Property. The Trustee disputes the mortgage interest of mBank, and after negotiation

with mBank, seeks approval of this Court to allow mBank to receive 50% of the $77,464.04, and

for the bankruptcy estate to retain the other 50% as a surcharge against the mortgage interest of

mBank. The Debtors, Larry and Mary Miller, object to this treatment of the proceeds to the extent

that their exemption of $20,605.00 in the proceeds would be eliminated. The Debtors seek

abandonment by the Trustee of the $20,605.00 exemption and the Trustee and mBank object to this

request. The Court makes the following findings of fact and conclusions of law as to the Trustee’s

Motion and the Debtors’ Motion based upon the pleadings filed in this bankruptcy estate and

Exhibits 1, 2, and 3 admitted into evidence on August 15, 2013. The Court also admitted and

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reviewed Exhibit 4 on August 15, 2013, but did not consider Exhibit 4 for purposes of making its

findings of fact.

                                          Findings of Fact

        Larry Miller was the president of Triple M Tire, Inc. (“Triple M”), a business located in

Gaylord, Michigan supplying tire services across northeastern Michigan. mBank lent money to

Triple M to allow Triple M to continue business operations.

        On September 19, 2005, Mr. Miller, as president of Triple M, signed a Universal Note in the

amount of $100,000.00 identifying Triple M as the borrower and mBank as the lender. The stated

purpose of this note was to term out a single pay note for working capital. The security for the

Universal Note listed various security agreements, personal guarantees, and real estate mortgages

on property owned by either Triple M or the Debtors. Attached to mBank’s Proof of Claim 15-1

filed with this Court is a copy of a Guaranty dated September 19, 2005, signed by the Debtors,

which recites that the Debtors guaranteed an unlimited amount of principal advanced by mBank to

Triple M and secured that Guaranty with a real estate mortgage dated September 19, 2005. Also

attached to Proof of Claim 15-1 and various pleadings filed in this case is a copy of a mortgage dated

September 19, 2005, and recorded September 21, 2005, at Liber 1068, Page 1 - 11, for the Otsego

County Register of Deeds (Exhibit 1). The Mortgage recites that the borrowers are Larry Miller and

Mary E. Miller, husband and wife, the lender as mBank, and that the note in question was one signed

by the borrower in the amount of $100,000.00. Per the affidavit of Nikki Tryan (Exhibit 3), the

September 19, 2005, note was designated as Loan No. XXXX0003. This loan was later designated

as Loan No. XXXX8103 when mBank converted its computer system.

        On June 29, 2006, the Debtors signed a second Guaranty reiterating the unlimited nature of


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the principal amount guaranteed by the Debtors to mBank and also restating that the Guaranty was

secured by seven separate real estate parcels, one of which included the Woodcrest Property. A few

years later, on January 2, 2009, the September 19, 2005, Universal Note was consolidated with other

obligations owed by Triple M. These obligations totaled $728,167.43, and the consolidation of

those obligations in one note was evidenced by a Universal Note dated January 20, 2012, bearing

a Loan No. XXXX1010. The January 2009 note states the purpose as a consolidation of existing

mBank notes into one payment and also states the security for this note to include the September 19,

2005, mortgage on the Woodcrest Property. Both the Universal Note and the collateral exhibit “A”

are signed by Larry Miller as president of Triple M and Larry and Mary Miller as individuals.

       Despite their best efforts, the Debtors could not overcome the financial difficulties

experienced by Triple M. Triple M filed a bankruptcy petition with this Court, and the individual

Debtors filed a petition seeking relief under Chapter 7 of the Bankruptcy Code with this Court on

May 9, 2011. The Debtors properly disclosed the Woodcrest Property and stated the value of it at

$182,600.00. In Schedule C, the Debtors claim an exemption of $20,605.00. The Trustee initially

listed the Woodcrest Property for $249,000.00, but was forced to lower the listing price until the

property was sold on July 19, 2013, for $149,900.00. At closing, normal and customary closing

costs were paid, as well as $56,784.64 to Citizens Bank which held a superior mortgage interest on

the property. The remaining funds in the amount of $77,464.04 were given to the Trustee subject

to later determination as to the interests of the estate and mBank in the proceeds.

                                            Jurisdiction

       This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 157, 28 U.S.C. § 1334,

and E.D. Mich. LR 83.50. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A) (matters


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concerning the administration of the estate) and (B) (allowance or disallowance of claims against

the estate or exemptions from property of the estate).

         All issues before the Court arise out of Title 11 of the United States Code and do not involve

issues which limit this Court’s jurisdiction as raised in the cases of Stern v. Marshall, 131 S. Ct.

2594 (2011) and later by the Sixth Circuit Court of Appeals in Waldman v. Stone, 698 F.3d 910 (6th

Cir. 2012).

                                               Analysis

         Neither mBank or the Debtors object to the Trustee’s sale of the Woodcrest Property for

$149,900.00 or the payment of the closing costs and the lien to Citizens Bank. The Debtors do not

object to mBank receiving money from the sale of the Woodcrest Property, but do object to the

extent that their exemption of $20,605.00 is imperilled by payment of money to mBank with the

concept that mBank will allow a surcharge of up to $38,732.02 (50% of $77,464.04). Given this,

the Court need not apply the usual standards of review for settlements as mandated by TMT Trailer

Ferry v. Anderson, 390 U.S. 414 (1968), Reynolds v. Commissioner of Internal Revenue, 861 F.2d

469, 473 (6th Cir. 1988), and In re Dow Corning Corp., 198 B.R. 214, 221-22 (Bankr. E.D. Mich.

1996).

         Paradoxically, this Court must analyze the respective rights of mBank in the Woodcrest

Property against Debtors’ rights to exempt the Woodcrest Property. In doing so, the Court will need

to analyze this case much as it would an application to approve a settlement and, if need be,

determine the rights of mBank.

         In this case, the initial documents signed in September 2005 sufficiently created a debt of

$100,000.00 owed by Triple M to mBank that was guaranteed by the Debtors. In turn, the Debtors


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secured that guaranteed obligation with a mortgage on the Woodcrest Property. The weakness in

the documents prepared by mBank focus on the language in the Mortgage that identifies the

borrowers as Larry and Mary Miller and by reference the note to mean a promissory note signed by

the borrowers (Larry and Mary Miller) dated September 19, 2005, setting regular periodic payments

and to pay the obligation in full by September 19, 2010. The Mortgage continued, however, to

include a recitation that the security instrument secured to mBank the repayment of the loan, that

is the debt evidenced by the note, as well as any renewals, extensions, and modifications of the note.

Although not perfect, the Universal Note, Mortgage, and Guaranty are sufficiently linked to put any

party on notice of the nature of the obligation owed by Triple M, guaranteed by the Debtors, and

secured by the Woodcrest Property. Less than one year later on June 29, 2006, the Debtors signed

another Guaranty which recited the same unlimited principal amount of debt in identifying seven

parcels, the first of which included the Woodcrest Property as security for the Guaranty.

Subsequently, in January 2009, prior to the September 19, 2010, date set in the Mortgage, the

Debtors and Triple M consolidated the September 19, 2005, note with other obligations to arrive at

a total of $728,167.43. The stated purpose of the January 20, 2009, Universal Note was to

consolidate the loans into one payment with a further identification that the property securing the

consolidated loan included seven real estate parcels and other items of personal property. Again,

mBank consolidated various obligations owed to it by Triple M and the Debtors, an event allowed

by the Mortgage within the “all renewals, extensions, and modifications of the note” language

contained in the mortgage.

       The Trustee argues that this language is insufficient to allow mBank to receive money from

the proceeds of the sale of the Woodcrest Property and threatened to take the necessary steps to


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avoid the mortgage granted by the Debtors to mBank. Before the Trustee initiated an adversary

proceeding to that end, however, the Trustee and mBank were able to reach a resolution which often

happens in cases involving an alleged basis to avoid a transaction. In those situations, the Debtors

cannot claim an exemption because of 11 U.S.C. § 522(g).

       Here, the Debtors argue that they never voluntarily gave an interest in the Woodcrest

Property for the reason that any claimed interest in the Woodcrest Property expired when mBank

consolidated the September 2005 Universal Note in January 2009. The Court finds this argument

to be misplaced because the Debtors signed documents in 2005, 2006, and 2009, clearly evidencing

an intent to create a mortgage interest in favor of mBank. While the Debtors are correct that the

methods used by mBank were not perfect, mBank did sufficiently create documents that allow the

mortgage interest granted to it in 2005 to continue to the present. The Court therefore concludes that

mBank has a valid mortgage interest in the Woodcrest Property and that the Debtors voluntarily

created that interest in 2005 and reaffirmed that creation in 2006 and 2009. Accordingly, 11 U.S.C.

§ 522(g) prohibits the Debtors from claiming an exemption on property avoided by the Trustee.

       Alternatively, the Court finds that the surcharge allowed by mBank cannot be claimed as an

exemption. Baldridge v. Ellman (In re Baldridge), No. 12-14612, 2013 W.L. 1759365 (E.D. Mich.

Apr. 24, 2013). In Baldridge, the trustee was able to sell property secured to Citizens Bank and

Fifth Third Bank for $503,000.00, an amount sufficient to pay the entire Citizens Bank obligation,

but not the $512,861.20 owed to Fifth Third Bank. Unlike the debtors in Baldridge, however, in this

case the Debtors properly claimed an exemption of $20,605.00. That being the case, in Baldridge

the Court held that the “carve-out” was appropriate to pay the trustee’s costs and that the debtors

could not claim an exemption if there was no equity in the property. As stated by the Baldridge


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Court, the carve-out did not transform into home equity because it was paid to the estate. Id. at *2.

Likewise, in this case, the ability of the Trustee to cause mBank to question its interest does not

create an exemption for the Debtors. In this case, no equity existed in the Woodcrest Property unless

the Trustee was able to sell it for substantially more than the $149,900.00 sale price.

       While the Court could envision circumstances in which the surcharge was improperly

negotiated to defeat an otherwise valid claim of exemption, the facts in this case do not warrant such

a finding. A review of the docket in this case indicates that the Trustee has attempted for

approximately two years to sell the Woodcrest Property and took appropriate actions to reduce the

listing price to attract a buyer. During this time, the Trustee incurred certain risks and also

undertook efforts to create equity for the Debtors, as well as the estate. Stated differently, if the

Trustee was successful in procuring a buyer for the original $249,000.00 listing price, the Debtors’

exemption of $20,605.00 would have been paid. That did not occur in this case, and there was no

evidence that the Trustee or mBank colluded to defeat the Debtors’ exemptions.

       Accordingly, with these facts, the Court concludes that the Trustee’s Motion for Approval

of Settlement with mBank is granted. The Court denies the Debtors’ Motion to Compel Trustee to

Abandon Property of Estate and also overrules any objection that the Debtors may have to the

settlement of the claims the bankruptcy estate has against mBank. Counsel for the Trustee is

directed to draft an Order consistent with this Opinion.

Not for Publication.
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Signed on October 04, 2013
                                                         /s/ Daniel S. Opperman
                                                       Daniel S. Opperman
                                                       United States Bankruptcy Judge



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